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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF ARIZONA
 United States of America
                                                             JUDGMENT IN A CRIMINAL CASE
     v.                                                      (For Offenses Committed On or After November 1, 1987)

 James B. Panther, Jr.                                       No. CR-19-00448-002-PHX-DLR
                                                             Andrea Suzanne Tazioli (Retained)
                                                             Attorney for Defendant



THE DEFENDANT ENTERED A PLEA OF guilty on March 30, 2021, to Count 1 of the Indictment.

ACCORDINGLY, THE COURT HAS ADJUDICATED THAT THE DEFENDANT IS GUILTY
OF THE FOLLOWING OFFENSE(S): violating Title 18, U.S.C. §1349, Conspiracy to Commit
Securities Fraud and Wire Fraud, a Class B Felony offense, as charged in Count 1 of the Indictment.

IT IS THE JUDGMENT OF THIS COURT THAT the defendant is hereby placed on PROBATION
for a term of SIXTY (60) MONTHS. The defendant shall report to the probation office within 72 hours
of sentencing.

IT IS ORDERED that all remaining counts are dismissed on motion of the United States.

                                     CRIMINAL MONETARY PENALTIES

The defendant shall pay to the Clerk the following total criminal monetary penalties:

SPECIAL ASSESSMENT: $100.00                        FINE: WAIVED              RESTITUTION: TBD

The Court finds the defendant does not have the ability to pay a fine and orders the fine waived.

The defendant shall pay a special assessment of $100.00 which shall be due immediately.

The defendant shall pay a total of $100.00 in criminal monetary penalties, due immediately. Having
assessed the defendant's ability to pay, payments of the total criminal monetary penalties are due as
follows: Balance is due in equal monthly installments of $25.00 over a period of 4 months to commence
60 days after the date of this judgment.

If incarcerated, payment of criminal monetary penalties are due during imprisonment at a rate of not less than $25 per quarter and
payment shall be made through the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary payments
shall be made to the Clerk of U.S. District Court, Attention: Finance, Suite 130, 401 West Washington Street, SPC 1, Phoenix,
Arizona 85003-2118. Payments should be credited to the various monetary penalties imposed by the Court in the priority
established under 18 U.S.C. § 3612(c). The total special assessment of $100.00 shall be paid pursuant to Title 18, United States
Code, Section 3013 for Count 1 of the Indictment.
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Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, (10) costs, including
cost of prosecution and court costs.

Any unpaid balance shall become a condition of supervision and shall be paid within 90 days prior to the expiration of supervision.
Until all restitutions, fines, special assessments and costs are fully paid, the defendant shall immediately notify the Clerk, U.S.
District Court, of any change in name and address. The Court hereby waives the imposition of interest and penalties on any unpaid
balances.

                                                         PROBATION

The drug testing condition is suspended based on the Court's determination that the defendant poses a
low risk of future substance abuse.

It is ordered that while on probation, the defendant must comply with the mandatory and standard
conditions of supervision as adopted by this court, in General Order 17-18, which incorporates the
requirements of USSG §§ 5B1.3 and 5D1.2. Of particular importance, the defendant must not commit
another federal, state, or local crime during the term of supervision. Within 72 hours of sentencing or
release from the custody of the Bureau of Prisons the defendant must report in person to the Probation
Office in the district to which the defendant is released. The defendant must comply with the following
conditions:

                                             MANDATORY CONDITIONS

1)       You must not commit another federal, state or local crime.
2)       You must not unlawfully possess a controlled substance. The use or possession of marijuana, even
         with a physician's certification, is not permitted.
3)       You must refrain from any unlawful use of a controlled substance. The use or possession of
         marijuana, even with a physician's certification, is not permitted. Unless suspended by the Court,
         you must submit to one drug test within 15 days of placement on probation and at least two
         periodic drug tests thereafter, as determined by the court.

                                               STANDARD CONDITIONS

1)       You must report to the probation office in the federal judicial district where you are authorized to
         reside within 72 hours of sentencing or your release from imprisonment, unless the probation
         officer instructs you to report to a different probation office or within a different time frame.
2)       After initially reporting to the probation office, you will receive instructions from the court or the
         probation officer about how and when you must report to the probation officer, and you must
         report to the probation officer as instructed.
3)       You must not knowingly leave the federal judicial district where you are authorized to reside
         without first getting permission from the court or the probation officer.
4)       You must answer truthfully the questions asked by your probation officer.
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5)    You must live at a place approved by the probation officer. If you plan to change where you live
      or anything about your living arrangements (such as the people you live with), you must notify
      the probation officer at least 10 days before the change. If notifying the probation officer in
      advance is not possible due to unanticipated circumstances, you must notify the probation officer
      within 72 hours of becoming aware of a change or expected change.
6)    You must allow the probation officer to visit you at any time at your home or elsewhere, and you
      must permit the probation officer to take any items prohibited by the conditions of your
      supervision that he or she observes in plain view.
7)    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the
      probation officer excuses you from doing so. If you do not have full-time employment you must
      try to find full-time employment, unless the probation officer excuses you from doing so. If you
      plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer at least 10 days in advance is not possible due to unanticipated
      circumstances, you must notify the probation officer within 72 hours of becoming aware of a
      change or expected change.
8)    You must not communicate or interact with someone you know is engaged in criminal activity. If
      you know someone has been convicted of a felony, you must not knowingly communicate or
      interact with that person without first getting the permission of the probation officer.
9)    If you are arrested or questioned by a law enforcement officer, you must notify the probation
      officer within 72 hours.
10)   You must not own, possess, or have access to a firearm, ammunition, destructive device, or
      dangerous weapon (i.e., anything that was designed, or was modified for, the specific purpose of
      causing bodily injury or death to another person such as nunchakus or tasers).
11)   You must not act or make any agreement with a law enforcement agency to act as a confidential
      human source or informant without first getting the permission of the court.
12)   If the probation officer determines that you pose a risk to another person (including an
      organization), the probation officer may require you to notify the person about the risk and you
      must comply with that instruction. The probation officer may contact the person and confirm that
      you have notified the person about the risk.
13)   You must follow the instructions of the probation officer related to the conditions of supervision.

                                      SPECIAL CONDITIONS

The following special conditions are in addition to the conditions of probation or supersede any related
standard condition:

1)    You must cooperate in the collection of DNA as directed by the probation officer.
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2)     You must submit your person, property, house, residence, vehicle, papers, or office to a search
       conducted by a probation officer. Failure to submit to a search may be grounds for revocation of
       release. You must warn any other occupants that the premises may be subject to searches pursuant
       to this condition.
3)     You must submit your computers (as defined in 18 U.S.C. § 1030(e)(1)) or other electronic
       communications or data storage devices or media, to a search. You must warn any other people
       who use these computers or devices capable of accessing the Internet that the devices may be
       subject to searches pursuant to this condition. Failure to submit to a search may be ground for
       revocation of release. A probation officer may conduct a search pursuant to this condition only
       when reasonable suspicion exists that there is a violation of a condition of supervision and that
       the computer or device contains evidence of this violation. You must consent to and cooperate
       with the seizure and removal of any hardware and/or data storage media for further analysis by
       law enforcement or the probation officer with reasonable suspicion concerning a violation of a
       condition of supervision or unlawful conduct. Any search will be conducted at a reasonable time
       and in a reasonable manner.
4)     You must provide the probation officer with access to any requested financial information and
       authorize the release of any financial information. The probation office may share financial
       information with the U.S. Attorney’s Office.
5)     You are prohibited from making major purchases, incurring new financial obligations, or entering
       into any financial contracts in excess of $500.00 without the prior approval of the probation
       officer.
6)     You must maintain full-time employment and/or schooling as directed by the probation officer.
7)     You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A,
       and 3664.

THE COURT FINDS that you have been sentenced in accordance with the terms of the plea agreement
and that you have waived your right to appeal and to collaterally attack this matter. The waiver has been
knowingly and voluntarily made with a factual basis and with an understanding of the consequences of
the waiver.

The Court may change the conditions of probation or supervised release or extend the term of
supervision, if less than the authorized maximum, at any time during the period of probation or
supervised release. The Court may issue a warrant and revoke the original or any subsequent sentence
for a violation occurring during the period of probation or supervised release.
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Date of Imposition of Sentence: Wednesday, May 24, 2023

         Dated this 31st day of May, 2023.




                                                                                              Douglas L. Rayes
                                                                                              United States District Judge




                                                                              RETURN

  I have executed this Judgment as follows:
                                                                                                                               , the institution
  defendant delivered on                                          to                                     at
  designated by the Bureau of Prisons with a certified copy of this judgment in a Criminal case.


  United States Marshal                                                                            By:        Deputy Marshal



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